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                   Exhibit N
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,
CALIFORNIA, COLORADO,
CONNECTICUT, DELAWARE, DISTRICT
OF COLUMBIA, FLORIDA, GEORGIA,   Civil Action No. 15-cv-6264
HAWAII, ILLINOIS, INDIANA, IOWA,
LOUISIANA, MARYLAND,             JURY DEMAND
MASSACHUSETTS, MICHIGAN,
MINNESOTA, MONTANA, NEVADA, NEW
JERSEY, NEW MEXICO, NEW YORK,
NORTH CAROLINA, OKLAHOMA,
RHODE ISLAND, TENNESSEE, TEXAS,
VIRGINIA, WISCONSIN

ex rel. Cathleen Forney
Plaintiffs


v. MEDTRONIC, INC.

                    Defendant.


 RELATOR’S RESPONSES TO DEFENDANTS’ FIRST SET OF INTERROGATORIES

        Relator Cathleen Forney hereby responds as follows to Defendants’ First Set of

 Interrogatories:

        Relator objects to the Instructions as imposing obligations beyond those set forth in

the Federal Rules of Civil Procedure. Relator shall respond to the Interrogatories only to the

extent required by the Rules.

 INTERROGATORY NO. 1

        Identify each Person with whom You or anyone acting on Your behalf has had one or

 more Communications regarding the Pending Qui Tam Litigation or the conduct alleged in Your

 Complaint. For each Person identified, provide the following information:
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        (a) the date on which each Communication took place;

        (b) the Persons present or included in the Communication; and

        (c) the substance of the Communication.

RESPONSE TO INTERROGATORY NO. 1.

       Relator objects on the grounds that this Interrogatory seeks information covered by the

attorney-client communication and attorney work product privileges. Relator also objects on the

grounds that there are less burdensome means to obtain the information sought.

 INTERROGATORY NO. 2

        Identify all Persons whose testimony You expect to use for any purpose prior to trial in

 the Pending Qui Tam Litigation.

RESPONSE TO INTERROGATORY NO. 2

       Relator objects on the grounds that this Interrogatory is vague and overbroad. Relator will

identify persons whose testimony will be used at trial in accordance with deadlines set by the

Federal Rules of Civil Procedure and the Court Orders of same. Relator also objects on the

grounds that that she cannot predict what motions the Defendant will file prior to trial in this

matter, and thus cannot answer accurately and identify all persons whose testimony may be used

to oppose a motion filed by Defendant. Relator also objects on the grounds that the Interrogatory

calls for information covered by the attorney-client and attorney work product privileges. Without

waiving any objections, and expressly reserving the right to supplement this response, Relator

intends to use testimony from the following persons who may be contacted only through

undersigned counsel: Cathleen Forney, Dr. Chris Taylor, Doug Willwerth, and Beth Coyle.

Relator also intends to use testimony from the following persons: Liz Flynn, Adam Hafez,

Christina Rich, David Roberts, Michael Mathias, Brian Haworth, Jeffrey M. Rothfeld, Neal
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Horne, Clayton DeSantis, and John Burns. Relator likely will use testimony obtained through the

conduct of the additional depositions convened in this matter, including, but not limited to, the

testimony of Thomas Schumacher, J.J. Kuhn, and the regional vice presidents.

 INTERROGATORY NO. 3

       Identify every time that You provided, offered to provide, agreed to provide, directed

others to provide, or assisted with providing a service to a Healthcare Provider believing that your

conduct was illegal and in violation of the law.

RESPONSE TO INTERROGATORY NO. 3

       Relator objects on the grounds that this Interrogatory that it is vague and ambiguous, seeks

information already in Defendant’s possession but not yet produced to Relator, and that there are

less burdensome means to obtain the information. Answering further, Relator cannot answer this

Interrogatory until Defendant produces the daily calendars that are required to be produced by

Court Order.

 INTERROGATORY NO. 4

        Identify every time a Medtronic employee communicated to you in words or substance

 while you were an employee of Medtronic that they believed that they were violating the law

 when they provided service to Healthcare Providers, as alleged in Your Complaint.

RESPONSE TO INTERROGATORY NO. 4

       Relator objects on the grounds that this Interrogatory is vague and ambiguous, seeks

information already in Defendant’s possession, and that there are less burdensome means to obtain

the information sought. Answering further, Relator cannot answer this Interrogatory unless and

until Defendant produces all of the emails and other documents maintained by Relator during the

course of her employment with Defendant.
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 INTERROGATORY NO. 5

        Identify every alleged or perceived violation by Medtronic of Medtronic’s Code of

 Conduct, Medtronic’s Business Conduct Standards, or any applicable legal or regulatory

 requirements that you reported to Medtronic on or before the date you executed the

 Separation Agreement and Release with Medtronic.

RESPONSE TO INTERROGTORY NO. 5

       Relator objects on the grounds that this Interrogatory that it is vague and ambiguous,

assumes a fact not in evidence on the record (namely, that Relator executed a Separation

Agreement and Release with Medtronic), and seeks information that there are less burdensome

means to obtain the information sought. Answering further, Relator cannot answer this

Interrogatory unless and until Defendant produces all of the emails and other documents

maintained by Relator during the course of her employment with Defendant.



Respectfully submitted by:

LAW OFFICES OF SUSAN L. BURKE


___/s/Susan L. Burke___________
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                                CERTIFICATE OF SERVICE

       Pursuant to the parties’ agreement, Relator’s Responses to Medtronic’s First Set

of Interrogatories was conveyed via email to counsel for Medtronic on October 20, 2017.

                                                   ___/s/Susan L. Burke___________
                                                   Susan L. Burke
